        Case 1:15-cv-01556-VJW Document 16 Filed 05/05/17 Page 1 of 2


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                                      No. 15-1556C
                                   (Filed May 5, 2017)
                                 NOT FOR PUBLICATION

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                                                                      FILED
BEATRICE ROBINSON,                      *                            MAY - 5 2017
                                        *
                                        *                           U.S. COURT OF
                    Plaintiff,                                     FEDERAL CLAIMS
                                        *
                                        *
             v.                         *
                                        *
THE UNITED STATES,                      *
                                        *
                    Defendant.          *
                                        *
** *** ** ***** ** ***** * * *** *

                                        ORDER

        Plaintiff, Beatrice Robinson, filed a complaint in our court contending that
the Department of Education (Department) was improperly garnishing h er social
security disability benefits to satisfy a student loan which had been discharged due
to disability. Compl. ir 2. In response to the complaint, and after some forms were
received and processed, the Department refunded to Ms. Robinson the money it had
offset from her benefits and ceased the garnishment. Def.'s Mot. to Dismiss (Def.'s
Mot.) Exs. A-B. As this remedial action mooted plaintiff's claim, defendant moved
for the dismissal of the complaint. Def.'s Mot. at 1.

       Plaintiff acknowl~dges that she h as received the relief she sought, but
opposes the government's motion to dismiss because she claims she is a "prevailing
party" entitled to the reimbursement of her $400 filing fee. Pl.'s Resp. to Def.'s Mot.
at 1. Unfortunately for plaintiff, as both the Federal Circuit and t he Supreme
Court have made clear, a party who obtains all the relief it seeks because the
government voluntarily agrees to provide the relief requested, without the
involvement of the court, is not a prevailing party within the meaning of the Equal
Access to Justice Act, 28 U.S.C. § 2412. Bucl?-hannon Bd. & Care Home, Inc. v. W.
Virginia Dep't of Health & Human Res., 532 U.S. 598, 610 (2001); Brickwood
Contractors, Inc. v. United States, 288 F.3d 1371, 1380 (Fed. Cir. 2002); Rice Servs.,
Ltd. v. United States, 405 F.3d 1017, 1027 (Fed. Cir. 2005); Dellew Corp. v. United
States, No. 2016-2304, 2017 WL 1541520, at *3 (Fed. Cir. May 1, 2017). As this
        Case 1:15-cv-01556-VJW Document 16 Filed 05/05/17 Page 2 of 2




Court may only tax costs when a plaintiff is a prevailing party, U.S. ex rel. Long v.
GSDMidea City, L.L.C., 807 F.3d 125, 129 (5th Cir. 2015); see also 28 U.S.C. §
2412(a)(l) & 28 U.S.C. § 1920(1), plaintiff cannot be awarded the fee she seeks.t As
plaintiff has obtained all other relief she sought, her complaint is moot. See
Technical Innovation, Inc. v. United States, 93 Fed. Cl. 276 (2010). Accordingly, the
defendant's motion to dismiss the case is GRANTED. The Clerk is directed to close
t he case.

IT IS SO ORDERED.




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                                         Judge




t As plaintiff cannot be awarded the only relief she seeks, there is no reason to stay
this case while she seeks an attorney. Accordingly, her motion for a continuance is
DENIED.
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